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 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. Kellogg, #271250
 2   400 Capitol Mall, Suite 1620
     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                )
 8   UNITED STATES OF AMERICA,                  )   Case No.: 2:17-cr-00169-GEB
 9             Plaintiff,                       )
                                                )   STIPULATION AND ORDER FOR
10         v.                                   )   AMENDMENT CONDITIONS OF
                                                )   PRETRIAL RELEASE
11   GAOESHENG LAITINEN,                        )
             Defendant.                         )
12                                              )
13                                              )

14
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     conditions of pretrial release are amended to remove the drug testing condition. All
16
     previously ordered conditions of release remain in full force and effect. Michael
17
     Beckwith, Assistant United States Attorney, and Thomas A. Johnson, attorney for
18
     Gaosheng Laitinen, agree to the amendment of pretrial release conditions. Pretrial
19
     Services has been informed of the request and does not object.
20
21
     IT IS SO STIPULATED.
22
23
24
     Dated: December 7, 2017                                /s/ Thomas A. Johnson
25                                                          THOMAS A. JOHNSON
                                                            Attorney for Gaosheng Laitinen
26
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 1
                                                     PHILLIP A. TALBERT
                                                     United States Attorney
 2
     Dated: December 7, 2017                        /s/ Michael Beckwith
 3
                                                    MICHAEL BECKWITH
 4                                                  Assistant U.S. Attorney
 5
 6                                     ORDER
 7
 8         IT IS SO ORDERED.
 9
     Dated: December 8, 2017
10
                                           _____________________________________
11                                         CAROLYN K. DELANEY
                                           UNITED STATES MAGISTRATE JUDGE
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